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                                       RESUME OF
                       DANIEL G. O’KELLY
                          DIRECTOR
        INTERNATIONAL FIREARM SPECIALIST ACADEMY, INC.
                                       GUNLEARN.com

                             FIREARM EXPERT/CONSULTANT


PO Box 338                                                       (813) 422-4674 phone
Lake Dallas, Texas 75065
E-mail: Info@GunLearn.com
Website: www.GunLearn.com


EDUCATION:
                 College: -Valparaiso University, Valparaiso, Indiana
                            Attended from fall 1974 through Spring of 1975.
                          -Indiana University
                           Transferred to Indiana University in fall 1975 and
                           graduated January, 1981 (Bachelor’s degree).

EXPERIENCE:

I have over 40 years of full-time experience as a Police Officer, ATF Agent/Firearm Specialist,
Criminal Investigator, Range Instructor, teacher of firearm technology, ammunition and firearm
manufacturer, and collector. I have examined well over 100,000 firearms and even more pieces
of ammunition. I’ve been involved in numerous investigations concerning them, and I have
testified continually in criminal & civil cases in State, Superior, Circuit, District and Federal
Courts since 1978. I have been recognized as an expert witness in Federal and State courts since
1990 and have given numerous depositions in criminal and civil cases. I have testified and/or
consulted as an expert on the topics of use of force, self-defense with a firearm, ballistics,
gunshot residue, federal and state firearm regulations, ATF rulings, ATF compliance and
procedures, shooting reconstruction, firearm classification, firearm design, and wrongful death.
I am one of only two ATF Agents who have performed an undercover investigation of illicit
international firearm trafficking in Europe. Since 1996 I have been a full-time instructor of most
facets of the field of firearms, including ballistics, forensics, ATF compliance and regulations,
markings, manufacture, classification, and specialize in establishing the interstate nexus of
firearms and ammunition in federal court. I have taught these topics countless times from coast
to coast, and several times each, in Europe and Africa, and am a Technical Advisor to the
Association of Firearm and Tool Mark Examiners, as well as an Advisory Board Member of the
Sonoran Desert Institute. I co-wrote the lesson plans for the ATF National Academy, and the
firearm technology and compliance training program for Cabela’s, Inc., which is the largest
firearm retailer in the world. I also served for two years as one of Cabela’s corporate ATF
                                         Defendant's
                                          Exhibit
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Compliance Managers. My training is also approved as continuing education by the American
Board of Medico-legal Death Investigators, and the International Association for Identification,
and I am a contracted instructor for the FBI. I also am a firearm designer and hold a patent as
registered with the U.S Patent Office.


WORK EXPERIENCE:
    11/11 to Present:          DIRECTOR & CONSULTANT
                              International Firearm Specialist Academy
                              Denton, Texas

Self-employed consultant with a staff of fellow consultants, specializing in firearms and
forensics-related services for law enforcement, the legal profession, the firearm industry, and the
insurance industry.

Clients include civil Attorneys, prosecuting and defense Attorneys, law enforcement agencies
and individual law enforcement personnel, licensed firearm dealers, manufacturers, importers
and collectors.

Services offered include firearm and ammunition identification, certification as an accredited
Firearm Specialist, training seminars on firearm technology, subject-matter expert court
testimony, shooting scene reconstruction, shooting accident investigations & reconstructions,
gun safety & design-related consultations, ATF compliance consultation and
examinations/audits, armorer schools, range instruction, tool mark examinations, crime scene
examinations & reconstruction, general criminalistics related examinations, gunshot residues
issues, distance determination examinations, forensic pathology casework consultations, etc.


11/11 to 12/13:        CORPORATE SENIOR MANAGER
                       FIREARM COMPLIANCE TEAM
                            Cabela’s, Inc.
                            Sidney, Nebraska

Responsible for the auditing and inspection of the firearm departments of the company’s 50
stores. This was in order to ensure and maintain ATF compliance, for one of the world’s largest
firearm retailers. I also co-wrote and delivered their training program to hundreds of employees
on firearm ID, ATF compliance, Ammunition, the Gun Control Act and the National Firearms
Act.

03-01 to 11/11:        ATF SENIOR SPECIAL AGENT
                            Tampa, Florida

Duties included investigations of violations of the federal gun laws and explosives laws,
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bombings, arsons and undercover investigations of organized crime. Further, it included firearm
interstate nexus determinations and the teaching of same, firearm technology determinations,
court testimony, and the training of ATF Agents and Investigators and other law enforcement
personnel on all aspects of firearms. I was the commonly preferred Agent of the U.S Attorney’s
Office, for testimony on firearm matters.

05/02 to 05/03:       FIREARM INSTRUCTOR COORDINATOR (as ATF Agent)
                           Tampa Field Division, Florida

During my tenure as an ATF Agent in Tampa, I served for 2 years in this capacity also. Duties
included the firearm training of ATF personnel for the northern 2/3 of the State of Florida. This
supervisory responsibility included:
       - Firearm identification
       - Ammunition casing, bullet and cartridge identification
       - Firearm Interstate Nexus determinations for U.S. District Court
       - NFA firearm examinations/determinations
       - Oversight of 15 Range Instructors
       - Maintenance of the firearm training budget, maintenance of over 200 firearms
         in inventory and maintenance of over 50,000 rounds of ammunition
       -Assisting U.S. Attorneys and other Agents in firearm and ballistics related
        determinations
       - Teaching seminars statewide, to thousands of police, legal, medical, and other
         personnel, on firearm and ammunition- related topics.
       - Made determinations as to whether an item is a non-gun vs. a firearm, according
          to Title 18 and Title 26, U.S. Code
       - Performed function checks on firearms as to their ability to fire
       - Acted as the Armorer/repairman for all duty-issued firearms
       - Purchased supplies- ammunition, equipment, etc... as needed
           for the Field Division.
       - Testifying in court (local, state, and Federal) concerning my examinations.
           (several hundred times at last count).


01-96 to 03/01 ATF SENIOR SPECIAL AGENT/ PROGRAM MANAGER
                           ATF National Academy
                             Glynco, Georgia

      I was the Chief Firearm Technology Instructor at the ATF National Academy, where I
wrote and co-wrote the entire firearm technology course of study that is still taught to new
Agents and compliance Investigators. I also instructed courses for U.S. Customs on firearm
importation. I also was custodian of the firearm reference vault which contained over 800
firearms, including numerous NFA firearms. It was my duty to maintain, repair and have a
teaching-level familiarity with the operation of all of them.
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I also became certified by ATF as an Interviewing (Train-The Trainer) Instructor, and
administered several Interviewing Schools around the U.S., as sponsored by the ATF National
Academy. I also served as the Program Manager of ATF’s Undercover School during 1998-99. I
delivered and co-instructed numerous 2-week undercover courses to State, Local and Federal law
enforcement officers, including ATF.

03-00 to 5-00    Temporary Duty as Supervisory ATF Resident Agent-in-Charge
                            Wilmington, Delaware

Tasked with correcting the multitude of problems in a rogue office which was being considered
for closure due to the many failures of its Agents. Success was achieved in only six weeks as the
Agent in Charge of the State of Delaware, resulting in my being awarded for Special Service by
the Baltimore Field Division.


       09-88 to 01-96     ATF SPECIAL AGENT
                          Merrillville, Indiana

Duties included investigations of violations of the federal gun law, explosives laws, bombings,
arsons and organized crime. Heavy emphasis was given to undercover investigations of armed
narcotics dealers and organized crime. Further, duties included firearm interstate nexus
determinations, firearm technology determinations, court testimony, and the training of ATF
Agents, Investigators and other law enforcement personnel on all aspects of firearms. I was the
commonly preferred Agent of the U.S Attorney’s Office for testimony on technical firearm
matters.


03-77 to 09-88          POLICE OFFICER
                         Porter County, Indiana

Duties included public safety and service, investigations and arrests for violations of municipal
ordinances, State and Federal law. Also included was routine traffic patrol, and answering calls
and taking reports of crimes. I served also as department firearm range instructor, providing
range oversight, and classroom instruction. I also served for two years in a full-time undercover
capacity attached to the Porter County Drug Unit. My duties there were to make purchases of
narcotics, firearms and other contraband and investigate the perpetrators. I served the last two
years as a Detective Corporal, doing follow-up investigation of everything from misdemeanors
to violent felonies.

  Specialized Training:
- Recognizing an 80% Receiver in Casework (AFTE 2018 - Kingery) – 6/18
- Tour of LRB firearm manufacturing facility Floral Park, NY - 1/18
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-Tour of the Museo Del Ejercito (Army Museum) in Toledo, Spain – 9/17
- Tour of the Imperial War Musem London, England – 9/17
- Tour of War and Peace Museum Oban, Scotland – 9/17
- Staged Homicide Crime Scenes seminar (Forensic Pieces) - 5/17
- Shooting Incident Reconstruction Course (40 hours, by Tritech Forensics) - 5/17
- Tour of Military Musem Menege (Finnish Government Military)
  museum in Suomenlinna, Finland - 9/16
- Tour of Armemuseum (Swedish Government Military) museum in
  Stockholm, Sweden – 9/16
- Barrel Making Techniques (AFTE 2016 – Offringa) -6/16
- The Silencer in Court for the Expert Witness (ATF FTB – Kingery) - 4/15
- The Machineguns and Machinegun Conversions (ATF FTB – Kingery) - 4/15
- Tour and research at HS Precision Rifles mfg. facility in
  Rapid City, SD, and Dakota Arms mfg. facility in Sturgis, SD – 2013

-Tour and research at Connecticut Shotgun in New Britain, CT., and Charter Arms in Sheldon,
   CT. – 2013
 -Tour and research at STI Firearms mfg. facility in Austin, TX.- 2013
 - Tour and research at North American Arms in UT. - 2013
 - International Exchange of Military Technology, Titusville, FL - 2012
 - Tour and research at Patriot Ordnance Factory, Phoenix, AZ. – 2012
 -Tour and research at Arms Tech Ltd. in Phoenix, AZ. - 2012
 -Tour and research at Windham Weaponry in Windham, ME.- 2012
 -Armorer training, Kimber Firearms, West Palm Beach, FL. – 2011
 -Tour and research at the Bundesamt fur Wehrtechnick und Beschaffung (BWB) (Federal
   Office of Defense Technology and Procurement) in Koblenz, Germany. – 2010
 -Armorer training, DS Arms (FAL), Springfield Armory (XD), and Smith & Wesson (M&P),
  San Antonio, TX. - 2010
 -Tour and research at Kel-Tec CNC Industries, Cocoa Beach, FL. – 2009
 -Tour and research at Diamondback Arms, Titusville, FL. - 2009
 -Tour and research at the German Police (BKA) firearm technology reference collection,
   Wiesbaden, Germany - 2005
  -Tour and research at Vektor Firearms factory, and the New Generation Ammunition Factory,
    Pretoria, South Africa. – 2004
  - Remington Armorer School (870, 1187 and 700), Cape Girardeau, Missouri. – 2003
  - Tour and research at MFS ammunition factory, Sirok, Hungary. – 2003
  - International Association of Law Enforcement Firearm Instructors (IALEFI) annual training
     conference, Orlando, Florida. – 2003
  - Tour and research at Sellier & Bellot ammunition factory, Vlasim, Czech Republic. – 2003
  - Tour and research at the U.S. Military Academy firearm museum at West Point, NY. – 2003
  - Firearm Instructor Recertification/Enhancement Workshop, ATF Special Operations
    Division, Orlando, Florida. – 2002
  - Colt Armorer school (AR-15/M-16/M-4 series), (Model O pistols), Fairfax, Virginia. – 2002
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   - Beretta Armorer school (model 92/96), San Diego, California. – 2002
   - Fabrique Nationale Herstal (FNH) Armorer school (P90) San Diego, California. – 2002
   - Tour and research at Pretoria Metal Pressings (PMP) ammunition factory, Pretoria, South
      Africa. - 2002
    -Tour and research at Vektor firearm mfg., Pretoria, South Africa.- 2002
    - IALEFI Training Conference, San Diego – 2002
    - Tour and research at Fegarmy firearm factory (2nd tour), Budapest, Hungary. -2001
    - Tour and research at the Hungarian Police Laboratory firearm reference collection, Budapest,
       Hungary -2001
    - Tour and research at Ceska Zbrojovka (CZ) firearm factory (my 2nd tour) and the Czech
     government Proof House, Uhersky-Brod, Czech Republic. – 2001
    - Tour and research at Glock firearm factory (my 2nd tour), Deutsch-Wagram, Austria. -2001
    - Tour and research at the Vienna proof house in Deutsch- Wagram, Austria. – 2001
    - Tour and research at Carl Walther firearm factory (my 2nd tour), Ulm, Germany. - 2001
 - Tour and research at the government proof house, Ulm, Germany – 2001
- Tour and research at Heckler & Koch firearms (my 2nd tour), Oberndorf, Germany. -2001
- Tour and research at Sig-Sauer firearms (my 2nd tour), Eckernforde, Germany. – 2001
- Tour and research at the Kiel proof house, Eckernforde, Germany – 2001
- Tour and research at the Fabrique Nationale (FN) firearm Factory, Liege, Belgium. -2001
- Tour and research at the government proof house, Liege, Belgium -2001
- Tour and research at the Austrian Police Headquarters Waffen Referat (Weapons Reference
   Collection), Vienna, Austria. – 2001
- Tour and research at the Heeresgeschichtlen (Military History) Museum, Vienna, Austria. –
   2001
- ATF Youth Crime-Gun Interdiction Initiative Instructor school, Washington, D.C. – 2000
- Tour and research (my 2nd tour) at the Heeresgeschichtlichen (Military History) Museum,
   Vienna, Austria. – 1999
- ATF Advanced Firearm Interstate Nexus course on ammunition manufacturing. Included tours
  and research at Hornady in Grand Island, Nebraska, 3D in Doniphan, Nebraska, Lake City
  Army Ammunition Depot in Independence, Missouri, Starline Brass and Sierra Bullets in
  Sedalia, Missouri, and the Winchester-Olin ammunition plant in East Alton, Illinois - 1999
 - ATF Advanced Firearm Interstate Nexus course on firearm manufacturing. Included tours and
   research at Sturm-Ruger (my 2nd tour) and Pine Tree Castings in New Hampshire, Smith &
   Wesson and Springfield Armory in Massachusetts, and Colt and Mossberg in Connecticut. –
   1998
  - Sturm-Ruger Armorer course (Mini-14, Police Carbine, P89, P95) Newport, NH – 1997
  - Tour and research at Sturm-Ruger firearm factory, Newport, New Hampshire. - 1997
  - Tour and research at Pine Tree (firearm) Castings facility, Newport, New Hampshire. – 1997
  - Tour and research at Ceska Zbrojovka (CZ) firearm factory in Uhersky-Brod, Czech Republic.
     - 1997
  - Tour and research at Steyr firearm mfg. plant, Steyr, Austria.- 1997
  - Tour and research at the Fegarmy’ firearm mfg. plant, Budapest, Hungary. – 1997
  - Tour and research at Glock pistol mfg. plant, Deutsch- Wagram, Austria. 1997
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  - Heckler & Koch Armorer, Sterling, Virginia. – 1996
  - Sig-Sauer Armorer course (P225, P226, P228) Fort McClellan, Alabama. – 1996
  - Reid Interviewing Seminar – 1996
  - ATF Interviewing Instructor and Neuro-Linguistic Programming School – 1996
  - SIMUNITIONS Scenario-Based (Train the Trainer) Seminar – 1996
  - Tour and research at Sig-Sauer mfg plant, Eckernforde, Germany, - 1995
  - Tour and research at Carl Walther firearm mfg. plant, Ulm, Germany, where I consulted on
    development of the model P99 pistol. – 1995
  - ATF Advanced Arson and Explosives Investigation School – 1995
  - Violent Crime/Homicide Investigation School (USDOJ) – 1994
  - Tour and research at the Ministry of Defense, Pattern Room, Nottingham, England. – 1994
  - Tour and research at Holland & Holland, Ltd., firearms London, England. – 1994
  - Bureau of ATF Academy Instructor Certification – 1994
  - Glock Armorer Course, Springfield, Illinois. – 1993
  - Advanced Interviewing and Interrogation (Portage PD)- 1992
  - Sig-Sauer Armorer Course, Greenwood, Indiana. - 1990
- FLETC Distinguished Weapons Expert Certification – 1990
- ATF Basic Firearm Interstate Nexus course, Washington D.C., (included examination of over
  4,500 firearms) - 1990
- Firearm Instructor certification course at the Federal Law Enforcement Training Center,
   Marana, AZ. – 1990
- New Agent Training at the Federal Law Enforcement Training Center, Glynco, Georgia. –
 1988
-Criminal Investigator School, at the Federal Law Enforcement Training Center, Glynco,
  Georgia. – 1988
- Smith & Wesson Revolver Armorer Course, Kent State University -1987
- Smith & Wesson’s Scope -Sighted Rifle School - 1987
- Indiana L.E. Training Board, Instructor Certification – 1987
- Aerko International Chemical Weapons Specialist School, Camp Atterbury, Indiana. – 1987
- NRA Police Firearms Instructor Certification - 1985
- FBI Hostage Negotiator School – 1984
- Firearm Instructor Training Course at the Indiana Law Enforcement Academy, Plainfield, IN. –
  1982
- Monadnock PR-24 Police Baton (Portage PD) – 1981
- Police Officer Street Survival (L/SPSTC) – 1981
- Chemical Tests for Intoxication Certification (ILEA) - 1979
- Police Officer Certification, Indiana Law Enforcement Academy, Plainfield, Indiana. – 1979
- NRA Police Expert (Range Qualification) - 1978

PROFESSIONAL AFFILIATIONS

             NSSF (The National Shooting Sports Foundation)
             ARIN (ATF’s Ammunition Research and Identification Network)
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           IAA (The International Ammunition Association)
           NDIA (The National Defense Industrial Association)
           IALEFI (The International Association of Law Enforcement Firearm Instructors)
           NRA (The National Rifle Association)
           ABMDI (Association of Medico-legal Death Investigators)
           REAF (Property an Evidence Association of Florida)
           FDIAI (Florida Division- International Association of Identification)
           IAI (International Association for Identification – National Chapter)
           ILEETA (International Law Enforcement Educators and Trainers Association)
           AFTE (Association of Firearm and Tool Mark Examiners)

PRESENTATIONS

 1. Certified Firearm Specialist Course (3-day seminar) – Kansas City, MO 8/19
 2. Certified Firearm Specialist Course (3-day seminar) – Las Vegas, NV 8/19
 3. Certified Firearm Specialist Course (3-day seminar) – St. Louis, MO 8/19
 4. Certified Firearm Specialist Course (3-day seminar) – Charlotte, NC 7/19
 5. Certified Firearm Specialist Course (3-day seminar) – Oceanside, CA 7/19
 6. Certified Firearm Specialist Course (3-day seminar) – San Antonio, TX 7/19
 7. Certified Firearm Specialist Course (3-day seminar) – New Haven, CT 6/19
 8. How to Identify “Other” Firearms – AFTE 50th Annual Conf. Nashville, TN 5/19
 9. Machineguns and Clandestine Conversions – Nashville Police Department/AFTE 5/19
 10. Certified Firearm Specialist Course Seattle, WA – 5/19
 11. Certified Firearm Specialist Course Orlando, FL – 5/19
 12. Certified Firearm Specialist Course Skokie, IL – 4/19
 13. Advanced NFA Firearm Training – Houston, TX 6/18
 14. “Other Firearms” (AFTE 2018) - Charleston, WV 6/18
 15. Firearm Technology and Specialist Training (3-day seminar) – Boston, MA 5/18
 16. Firearm Technology and Specialist Training (3-day seminar) – Brighton, CO 4/18
 17. Firearm Technology and Specialist Training (3-day seminar) – Santa Cruz, CA 3/18
 18. Firearm Technology and Specialist Training (3-day seminar) – Floral Park, NY 1/18
 19. Firearm Technology and Specialist Training (3-day seminar) – Oceanside, CA 11/17
 20. Firearm Technology and Specialist Training (3-day seminar) – Pensacola, FL 11/17
 21. Firearm Technology and Specialist Training (3-day seminar) – St. Louis, MO 8/17
 22. Firearm Technology and Specialist Training (3-day seminar) – Kissimmee, FL 6/17
 23. Firearm Technology and Specialist Training (3-day seminar) – Seattle, WA – 4/17
 24. Firearm Technology and Specialist Training (3-day seminar) – Chicago, IL – 4/17
 25. Firearm Technology and Specialist Training (3-day seminar) – Escondido, CA – 10/16
 26. Firearm Technology and Specialist Training (3-day seminar) – Ft. Myers, FL – 10/16
 27. Home-made Firearms, Silencers, Disguised Firearms, and Court Testimony – SWAFS -
     Galveston, TX - 9/16
 28. Firearm Classification and Markings – IAI/Cincinnati, OH – 8/16
 29. Certified Firearm Specialist Course (3-day seminar) – FDLE Jacksonville, FL - 7/16
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 30. Firearm Technology and Specialist Training (3-day seminar) – New Jersey St. Police –
     7/16
 31. Firearm Technology and Specialist Training (3-day seminar) – Pensacola, FL PD - 7/16
 32. Firearm Technology and Specialist Training (3-day seminar) – CSI Academy Alachua, FL
     – 7/16
 33. Firearm Classification and Markings – AFTE/New Orleans, LA – 6/16
 34. Discerning real guns from fakes with video/photo evidence – AFTE/New Orleans, LA –
     5/16
 35. Firearm Technology and Specialist Training (3-day seminar) – Santa Fe, NM – 5/16
 36. Firearm Technology and Specialist Training (3-day seminar) – St. Louis, MO – 4/16
 37. Firearm Technology and Specialist Training (3-day seminar)– Seattle, WA – 4/16
 38. Firearm Technology and Specialist Training (3-day seminar) – Miami, FL – 1/16
 39. Firearm Technology and Specialist Training (3-day seminar) – Biddeford, Maine – 1/16
 40. Firearm Technology and Specialist Training (2-day seminar) – Jacksonville, FL – 9/15
 41. Firearm Technology and Specialist Training (2-day seminar) – Windham, Maine – 8/15
 42. ATF Firearm Licensee Compliance; Jeffersonville, IN – 8/15
 43. Firearm Technology and Specialist Training (2-day seminar) –Pensacola, FL PD – 7/15
 44. Firearm Technology and Specialist Training (2-day seminar) - Kissimmee, FL – 7/15
 45. Firearm Technology and Specialist Training (2-day seminar) – Seattle, WA - 5/15
 46. Firearm and Ammunition Classification – PNWIAI Conference – Portland, OR 5/15
 47. Firearm Technology and Specialist Training (2-day seminar) – Miami, FL – 3/15
 48. Firearm Technology and Testimony (2-day seminar) – Orange Beach, AL - 11/14
 49. Firearm Technology and Testimony (2-day seminar) – Albuquerque, NM – 10/14
 50. Basic Firearm Technology and Testimony – Ft. Myers, FL – 7/14
 51. Advanced Firearm Technology – Institute of Military Technology – Titusville, FL. 10/12
 52. Firearm Recognition/Handling/Testimony – Orange Co. Sher. Ofc. – Orlando, 7/5/12
 53. Firearm Recognition/Handling/Testimony – Florida Dept. of Law Enf. - Orlando, 6/4/12
 54. Firearm ID – How to Read a Gun – Florida Assn. of Lic. Inv. – Tampa, FL 6/11/11
 55. Firearm Hist. and Development – A Primer/ Becoming an Expert – W. P. Bch, FL, 5/26/11
 56. Contributor to the book Cartridges & Firearms Identification by Robert Walker, ISBN
     #9781466502062 – 2010
 57. Firearm Technology and Enforcement – Int’l LE. Academy – Budapest, Hungary, 7/10
 58. Crime-Gun Safety, Recognition and Handling – Daytona Beach Police Department, 09/09
 59. Crime-Gun Safety, Rec. and Handling – Brevard County, FL Sheriff’s Office, 06/09
 60. Ammunition Technology – Property and Evidence Association of Florida, Orlando, 02/09
 61. Firearm Interstate Nexus – ATF and South African Police Service - Orlando, FL, 01/09
 62. Industry Operations Investigator Basic Course – Glynco, GA, 10/07
 63. Firearm Technology and Enforcement – Gabarone, Botswana (Africa), 08/07
 64. Small Arms Trafficking – ILEA – Gabarone, Botswana (Africa), 08/07
 65. Firearm Recognition, Technology and Anti-Smuggling – ILEA Budapest, Hungary, 12/08
 66. Firearm Recognition/Technology – Orange County Sheriff Orlando, FL 08/08
 67. Crime-Gun Rec., Handling, Tech. and Prosecution – FDIAI – Panama City, FL, 11/05
 68. Reloading Metallic Cartridges - Florida Dept. Of Law Enforcement – Tampa, FL 03/08
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 69. New Developments in Ammunition – FDLE Orlando, FL, 10/04
 70. Firearm Technology and Enforcement – Gabarone, Botswana (Africa), 09/04
 71. Small Arms Trafficking – ILEA – Gabarone, Botswana (Africa),
 72. Man-Portable Air Defense Systems – Florida Intelligence Unit – Daytona Bch, FL 07/04
 73. Reloading Metallic Cartridges - Florida Dept. Of Law Enforcement – Tampa, FL, 08/03
 74. Firearm Recognition, Technology and Anti-Smuggling – ILEA Budapest, Hungary, 06/03
 75. Firearm Technology and Enforcement – Gabarone, Botswana (Africa), 08/02
 76. Firearm Recognition, Technology and Anti-Smuggling – ILEA Budapest, Hungary, 02/97
 77. Firearm Technology for Law Enforcement Gary, IN, 12/95

AWARDS & ACHIEVEMENTS

       Fraternal Order of Police (Past-President) Westchester Lodge #152 - 1980
       Presented Distinguished Weapons Expert Award by FLETC - 1990
       Presented Special Act or Service Award by ATF - 1993
       Presented U.S. DOJ Award for Public Service by U.S Attorneys Office - 1995
       Presented Special Act or Service Award by ATF - 1999
       Presented Special Act or Service Award by ATF - 2000
       Presented Certificate of Appreciation by ATF National Academy – 2001
       Presented Special Act or Service Award by ATF - 2002
       Presented Award for Educational Support by PEAF - 2005
       Invited to join ATF’s ARIN (Ammunition Research & ID Network) – 2005
       Featured Speaker- "Firearm Technology"- Property and Evidence Association of
       Florida Annual Conference - 2006
       Research of ammunition company history determination on interstate nexus,
       on metallic cartridges found in the State of Florida.- 2009
       Presented IALEFI Guest Instructor Award - 2010
       Invited onto the Advisory Board of the Sonoran Desert Institute – 2014 - Present
       Recognized as a Technical Advisor to the Assn. of Firearm and Tool Mark Examiners –
       2017 - Present




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